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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Elizabeth J. Ward, was on duty and performing my
official duties as a Special Agent with the Federal Bureau of Investigation “FBI”). As a Special
Agent, I am authorized by law to engage in or supervise the prevention, detention, investigation,
or prosecution of violations of Federal criminal laws.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. Between 1:00
p.m. and 2:00 p.m.., certain individuals in the crowd forced their way through, up, and over the
barricades and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade
of the building. At such time, the joint session was still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, individuals
in the crowd forced entry into the U.S. Capitol, including by breaking windows. Shortly thereafter,
at approximately 2:20 p.m. members of the United States House of Representatives and United
States Senate, including the President of the Senate, Vice President Mike Pence, were instructed
to—and did—evacuate the chambers. Accordingly, the joint session of the United States Congress
was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the
United States Capitol from the time he was evacuated from the Senate Chamber until the sessions
resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       JON RYAN SCHAFFER (SCHAFFER) of Columbus, Indiana, traveled to the District
of Columbia to participate in a rally and protest at the U.S. Capitol. SCHAFFER is a person of
some celebrity in the heavy metal music industry, and was identified by numerous individuals
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when his photograph was published by the FBI seeking identification of individuals who
participated in the events of January 6, 2021.

        SCHAFFER was among the rioters who sprayed United States Capitol Police officers
with “bear spray,” a form of capsaicin pepper spray sold by many outdoors retailers, as part of
their efforts to push the officers back inside the Capitol and breach the Capitol Building
themselves. SCHAFFER was photographed and captured on surveillance video carrying “bear
spray” and engaging in verbal altercations with Capitol Police officers inside the Capitol Building.
SCHAFFER is seen holding a clear sunglasses in one photograph, and bear spray in other
photographs.




        The photographs show SCHAFFER in a blue hooded sweatshirt under a tactical vest with
a baseball cap that reads “Oath Keepers Lifetime Member.” The “Oath Keepers” is an organization
that characterizes itself as a militia of former law enforcement and military personnel and has
often, as a group, urged President Trump to declare Martial Law in order to prevent the Congress
from certifying the Electoral College Results.

        SCHAFFER, who is the front man of the heavy metal band “Iced Earth,” has long held
far-right extremist views. During an interview in 2017, SCHAFFER identified himself as an
“anarchist” and referred to the federal government as a “criminal enterprise.” During that same
interview, SCHAFFER stated that the 2016 Presidential election was “rigged.”
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       On November 14, 2020, SCHAFFER participated in the “Million MAGA March” in
Washington, D.C. with other Oath Keepers members. Schaffer was photographed wearing the
same blue hooded sweatshirt and clear plastic sunglasses that he wore on January 6, 2021.




SCHAFFER was approached by a member of the press during the March, and made numerous
statements indicating his intent to join others in fighting the election results – with violence if
necessary. Specifically, SCHAFFER stated the following:

       My name’s JON SCHAFFER, I’m from Indiana. A group of thugs and criminals
       hijacked this country a long time ago. And now they’re making their big move, and
       it’s not gonna happen. . . People need to wake up and snap out of the Matrix,
       because they’re going down. They made the move, they’re messing with the wrong
       people here, trust me on that. And we needed it to be open like this. Open fraud.
       Open theft. Because now we see you, and you’re going down, mark my words.

When asked if he expected the protest to involve violence, SCHAFFER stated “if somebody wants
to bring violence, I think there’s a lot of us here that are ready for it. We don’t want that, but if
they bring it we’re going to respond to that, trust me.” SCHAFFER went on to state:

       We’re not going to merge into some globalist, communist system, it will not
       happen. There will be a lot of bloodshed if it comes down to that, trust me. The
       American people will not go for that bullshit once they understand what’s actually
       happening. So that’s where we’re at. Nobody wants this, but they’re pushing us to
       a point where we have no choice.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JON RYAN SCHAFFER violated 18 U.S.C. §§ 1752(a)(1), (2), and (4), which make it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; and(4) knowingly
engage in any act of physical violence against any person or property in any restricted building or
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grounds, or attempt or conspires to do so. For purposes of Section 1752(a), a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance. For purposes of Section 1752(b), “bear
spray” is a dangerous weapon. For purposes of Section 1752(b), the storming of the United States
Capitol building resulted in “significant bodily injury.”

        Your affiant submits there is also probable cause to believe that JON RYAN SCHAFFER
violated 40 U.S.C. §§ 5104(e)(2)(A), (F) and (G), which make it a crime to willfully and
knowingly: (A) enter or remain on the floor of either House of Congress or in any cloakroom or
lobby adjacent to that floor, in the Rayburn Room of the House of Representatives, or in the Marble
Room of the Senate, unless authorized to do so pursuant to rules adopted, or an authorization given,
by that House; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     _________________________________
                                                     ELIZABETH J. WARD,
                                                     SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of January 2021.


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                                                     U.S. MAGISTRATE JUDGE
